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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
       v.                                            )
                                                     )       l:llcr512(LMB)
                                                     )       l:14cv425(LMB)
KELVIN DWAIN VAN HOOK, JR.,                          )
                                                     )
              Movant.                                )


                                 MEMORANDUM OPINION


       Before the Court is Kelvin Dwain Van Hook, Jr.'s ("Van Hook"1 or "movant") pro se

Motion to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody pursuant to 28

U.S.C. § 2255 [Dkt. No. 128] ("Motion to Vacate"), in which he argues that his sentence was

imposed in an unconstitutional manner and that he received constitutionally ineffective

assistance from his defense counsel, Assistant Federal Public Defender Kevin Brehm ("Brehm").

On the sentencing issue Van Hook argues that the Court's determination that he had committed

three separate felony drug offenses, which rendered him eligible for sentencing under the

enhancements required by the Armed Career Criminal Act ("ACCA") and led to his 180-month

sentence, should have been, under Alleyne v. United States, 133 S.Ct. 2151 (2013), submitted to

a jury rather than being found by the Court. On the second point, Van Hook argues that Brehm

failed to interview Van Hook's co-defendant Amanda Coles ("Coles") before trial and that

during cross-examination Brehm failed to ask Coles questions which, Van Hook asserts, would

have established that she set up Van Hook. Van Hook argues that such testimony would have


1Previous cases erroneously list Van Hook's surname as one word. See United States v.
Vanhook, 495 F. App'x 308 (4th Cir. 2012). On May 19, 2014 the judgment in the present case
was amended to reflect the correct spelling. Amended Judgment [Dkt. No. 131].
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created reasonable doubt that he knowingly and intentionally possessed the firearm upon which

his conviction was based. The United Stales has responded to the Motion to Vacate and provided

an affidavit from Brehm. Van Hook has replied to the United States' opposition. Having

reviewed the entire record, the Court finds no merit to Van Hook's motion, which will be

dismissed without the need for an evidentiary hearing.

                                     I.   BACKGROUND


       On October 25, 2011, a federal grand jury returned a three-count indictment charging

Van Hook in Count 1 with possession of a firearm after having been convicted of a crime

punishable by imprisonment for more than one year, in violation of 18 U.S.C. § 922(g)(1).

Indictment [Dkt. No. 15] at 1-2. Coles was charged in Count 2 with knowingly making a false

statement in connection with the purchase of the firearm, and in Count 3 with giving the firearm

to Van Hook with reasonable cause to believe that Van Hook was a felon. Id. at 3-4. Van Hook

and Coles were tried together in December of 2012. Motion to Vacate at 8.2

       At trial, the government argued that the defendants were involved in a straw purchase of

a firearm. More specifically, it argued and presented evidence that Coles visited a firearms dealer

on September 26, 2011. Id at 9. During her visit, the shopkeeper became suspicious that Coles

was attempting to purchase a firearm for another person, at least in part because of the type of

firearm that Coles wanted to buy, that she parked her car on the opposite side of the parking lot,

and that the shopkeeper saw a man sitting in that car. Id. The shopkeeper told Coles that she

would have to return later to pick up the firearm, and called the Bureau of Alcohol, Tobacco,

Firearms, and Explosives ("ATF") to report his suspicions. Id. After the ATF established



2Van Hook's motion contains both a form AO-243 and a "Memorandum of Law," which were
submitted together but were not consecutively numbered. For ease of reference, citations are to
the pagination applied by the electric filing system.
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surveillance around the store, the shopkeeper notified Coles that she could return to pick up the

firearm. Id. Coles returned to the store and was allowed to purchase the firearm. Id. at 10. She

carried the firearm to her car in a white plastic bag. Id. at 10.

        When Coles arrived at the store to pick up the firearm, Van Hook was seen in the parking

lot of a 7-11 convenience store across the street from the gun store. Id.; Government's Answer to

Petitioner's Motion [Dkt. No. 146] ("Gov't Opp'n") at 3. After Coles returned to her car with the

firearm, she drove to the 7-11 where Van Hook was waiting. Motion to Vacate at 10. "Van Hook

leaned inside her car, and retrieved a white plastic bag." Id. Van Hook was arrested after

returning to his vehicle. Id. The white plastic bag that he retrieved was found to contain the

firearm that Coles had just purchased. Id.

        Both defendants argued to the jury that Coles had purchased the gun for self-protection

and that there was never any intent for Van Hook to possess the firearm, which Van Hook

accidentally possessed when he picked up the bag containing the firearm by mistake. See id. at

10-11. Coles testified that she had purchased the firearm for herself for protection, and that she

instead intended to give Van Hook a second white plastic bag which contained watches

belonging to Van Hook. Id. at 10. In contrast to Coles's testimony, ATF Special Agent Jeffrey

Grabman ("Grabman") testified that Coles made a post-Miranda statement admitting that she

knew that Van Hook was a convicted felon who was not permitted to possess a firearm, She also

admitted giving the firearm to Van Hook and that Van Hook was going to give the firearm to a

third person. Id.

        Van Hook testified at trial that he did not know that the bag that he picked up contained a

firearm and that he thought he had merely retrieved his watches. Id. at 11. Grabman also

contradicted Van Hook's version of the evidence, testifying that Van Hook made a post-Miranda
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admission that he was a convicted felon and that he had a handgun in the white plastic bag. Id. at

11. Both Coles and Van Hook testified that they did not make any statements to Grabman. Id. at

10-11. The jury convicted both defendants on all counts. Id. at 8.

       Coles was sentenced to 21 months of incarceration. Id. Van Hook was sentenced to 180

months of incarceration under the ACCA, which sets a mandatory minimum fifteen year

sentence for persons with three previous "violent felony or serious drug offense[s], or both,

committed on occasions different from one another." 18 U.S.C. 924(e)(1). Van Hook had

previously been convicted in the Circuit Court of Prince William County, Virginia three times, in

three separate cases, of distributing cocaine in violation of Va. Code Ann. § 18.2-248. At

sentencing, Van Hook argued unsuccessfully that the 180-month sentence was inappropriate

because, under Apprendi v. New Jersey, 530 U.S. 466, 490 (2000), the jury needed to find all of

the elements under § 924(e)(1), including that the three previous offenses were "separate"

offenses, beyond a reasonable doubt. Id.

       Van Hook, then still represented by the Office of the Federal Public Defender, appealed

his sentence to the United States Court of Appeals for the Fourth Circuit, repeating his argument

that the "separateness" of his three prior offenses was required to be submitted to the jury. Id.

The Fourth Circuit rejected that argument, finding that it had "previously concluded that a

sentencing judge may undertake the ACCA's 'separateness' inquiry." United States v. Vanhook,

495 F. App'x 308, 309 (4th Cir. 2012).

       Since the decision by the Fourth Circuit, the United States Supreme Court decided

Alleyne v. United States, which found that "[a]ny fact that, by law, increases the penalty for a


3Commonwealth v. Vanhook, Case No. CR05057474-00 (stating offense date ofSept. 22,
2003); Commonwealth v. Vanhook, Case No. CR05057476-00 (stating offense date of Sept. 16,
2003); Commonwealth v. Vanhook, Case No. CR05057476-00 (stating offense date of Sept. 3,
2003). See also Motion to Vacate at 12.
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crime is an 'element' that must be submitted to the jury and found beyond a reasonable doubt."

133 S.Ct. 2151, 2155 (2013). Van Hook, now pro se, argues that Alleyne vindicates his previous

arguments, and therefore requires that his sentence be vacated and a new sentence imposed.

Motion to Vacate at 23.


        Van Hook further argues that Alleyne is not the only thing that has changed since the

Fourth Circuit rejected his appeal. With his Motion to Vacate, Van Hook also submits an e-mail

and letter from Coles, in which she states for the first time that she purchased the firearm at issue

in an effort to "set [Van Hook] up" as revenge for Van Hook wanting her to seek an abortion.

See Motion to Vacate Ex. 1 ("Coles E-mail"); Motion to Vacate Ex. 2 ("Coles Letter"). Van

Hook argues that Brehm, his trial counsel, was constitutionally ineffective in failing to

investigate the possibility that Coles was seeking vengeance and by not adequately questioning

Coles regarding that possibility at trial. Motion to Vacate at 28-30. Accordingly, Van Hook seeks

to have his conviction set aside, and to receive a new trial "in which Coles is called to testify in

detail on her admitted scheme to trick him into possessing a firearm." Id. at 30.

                                       II.   DISCUSSION


        A. Standard of Review


        A motion under 28 U.S.C. § 2255 provides for collateral attack on a conviction or

sentence that was imposed in violation of the United States Constitution or laws, where the court

lacked jurisdiction to impose the sentence, where the sentence was in excess of the maximum

authorized, or where the sentence or conviction is otherwise subject to collateral attack. To

prevail, a movant bears the burden of proving his grounds for collateral relief by a preponderance

of the evidence. Vanater v. Boles, 377 F.2d 898, 900 (4th Cir. 1967). Relief under § 2255 is

designed to correct for fundamental constitutional, jurisdictional, or other errors, and it is
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therefore reserved for situations in which failing to grant relief would otherwise "inherently

result[] in a complete miscarriage of justice." United States v. Addonizio, 442 U.S. 178, 185

(1979) (quoting Hill v. United States, 368 U.S. 442, 428 (1962)). Moreover, a motion pursuant to

§ 2255 "may not do service for an appeal," and claims that have been waived by a failure to

appeal are therefore procedurally defaulted unless the movant can show cause and actual

prejudice. United States v. Frady, 456 U.S. 152, 165-67 (1982); United States v. Maybeck, 23

F.3d 888, 891-92 (4th Cir. 1994) (applying standard to unappealed guilty pleas). An exception

applies, however, when a defendant brings a claim of constitutionally ineffective assistance of

counsel, which can be raised in a collateral attack on his conviction or sentence. See United

States v. Martinez. 136 F.3d 972, 979 (4th Cir. 1998); United States v. DeFusco, 949 F.2d 114,

120-21 (4th Cir. 1991).

       B. Applicability of Alleyne


        "New rules of constitutional criminal procedural 'are generally not applied retroactively

on collateral review."' United States v. Sanders, 247 F.3d 139, 146 (4th Cir. 2001) (quoting

United States v. Mandanici, 205 F.3d 519, 527 (2d. Cir. 2000)). What that principle means is that

new rules of constitutional criminal procedure announced by the Supreme Court may not be

applied to cases which are already final unless the Supreme Court specifically states that the

decision will apply retroactively. Sanders at 146 n.4. "[A] new rule is not 'made retroactive to

cases on collateral review' unless the Supreme Court holds it to be retroactive." Tyler v. Cain,

533 U.S. 656,663(2001).
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       Van Hook's conviction was already final when Alleyne was decided on June 17, 2013.,]

Accordingly, he may only rely on Alleyne for relief if the Supreme Court made Alleyne apply

retroactively to cases on collateral review. The Supreme Court has not made Alleyne apply

retroactively, see Alleyne, 133 S.Ct. at 2151, and the Fourth Circuit has recognized, in an

unpublished per curiam opinion, that "Alleyne has not been made retroactively applicable to

cases on collateral review." United States v. Stewart, 540 F. App'x 171, 172 n.* (4th Cir. 2013).

In addition, the Supreme Court has made clear that Alleyne merely extended the reasoning of

Apprendi v. New Jersey, 530 U.S. 466 (2000). "Every circuit court to address whether Apprendi

applies retroactively . . . has held that it does not." Hughes v. United States, 770 F.3d 814, 818

(9th Cir. 2014) (collecting cases). For these reasons, Van Hook cannot receive a new sentence

based on Alleyne, and this claim will be dismissed.

       C. Ineffective Assistance of Counsel


       To establish ineffective assistance of counsel Van Hook must satisfy the two-pronged test

of Strickland v. Washington, 466 U.S. 668 (1984), which requires showing "that counsel's

representation fell below an objective standard of reasonableness" and that the defendant

suffered prejudice from that that substandard performance. Id. at 687-88. Because it "is all too

tempting for a defendant to second-guess counsel's assistance after conviction or adverse

sentence" and because a wide range of legitimate defense strategies are possible in a given case,

"scrutiny of counsel's performance must be highly deferential." Icf at 689. "Once counsel

conducts a reasonable investigation of law and facts in a particular case, his strategic decisions

are virtually unchallengeable." Powell v. Kelly, 562 F.3d 656, 670 (4th Cir. 2009). To show

prejudice, Van Hook must prove "that there is a reasonable probability that, but for counsel's


4Van Hook's Petition for a Writ of Certiorari was denied on March 25, 2013, and rehearing was
denied on May 20, 2013. Motion to Vacate at 9.

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unprofessional errors, the result of the proceeding would have been different." Id.; see also id. at

694 ("A reasonable probability is a probability sufficient to undermine confidence in the

outcome.").

       Van Hook has not made the requisite showing that Brehm's representation fell below an

objective standard of reasonableness. Van Hook argues that Brehm took two actions which fell

below the standard: not conducting a pretrial investigation into Coles's motive and not cross-

examining her regarding her motive during trial. Motion to Vacate at 28-30. To the extent that

Van Hook argues that Brehm should have interviewed Coles to determine her motive, Brehm has

averred that he was not permitted to communicate directly with Ms. Coles before trial because

she was represented by attorney Chong C. Park ("Park"). Affidavit of Kevin Brehm [Dkt. No.

145] ("Brehm Affidavit") H4; Virginia State Bar Professional Guidelines R. 4.2. Brehm asked

Park if he could speak with Coles, and Park declined to grant that permission. Brehm Affidavit 1)

4. At that point, there was no further investigation which Brehm could pursue under the ethical

rules governing the legal profession and, therefore, his conduct was not deficient.

       At trial, the common defense strategy for both Coles and Van Hook was to argue that

Coles purchased the firearm for herself and that Van Hook took the bag in which the firearm was

placed by mistake, therefore not knowingly or intentionally possessing the weapon. Id. ^ 5;

Motion to Vacate at 10-11. "[Tjhat was the trial defense discussed with Mr. Van Hook prior to

the commencement of trial." Brehm Affidavit ^ 5. Because Coles's testimony was consistent

with that theory, "there was no reason to cross-examine Ms. Coles regarding any possible motive

she might have had to 'entrap' or 'set up' Mr. Van Hook and orchestrate the situation so he
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would be found in possession of a firearm by the police." Id. Accordingly, Brehm's strategic

decision to limit his cross-examination of Coles to the theory which had been discussed with,

and agreed to by Van Hook before trial, did not fall below the objective standard of

reasonableness.


                                     III.   CONCLUSION


       For the reasons stated above, Van Hook's Motion to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody pursuant to 28 U.S.C. § 2255 [Dkt. No. 128] will be

dismissed by an appropriate Order to be issued with this Memorandum Opinion.

       Entered this _/6_ day of March, 2015.

Alexandria, Virginia



                                                         Leonie M. Brinkema
                                                         United States District Judge




5Although determination of Coles's credibility is not necessary to resolve Van Hook's motion, it
is noted that Coles's new contention strains credulity. In particular, her two vastly different
versions of her actions and motivations render the account in her e-mail and letter, neither
written under oath, completely unbelievable.
